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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

SECURITIES AND EXCHANGE
COMMISSION,                                       CIVIL ACTION NO.
                                                   1:21-CV-3413-SDG
Plaintiff,

v.

JOHN J. WOODS, ET AL.,

                       Defendants.


ORDER GRANTING RECEIVER’S MOTION TO ABANDON INTEREST
    IN LAKEWOOD RANCH RISK MANAGEMENT LLC D/B/A
         SOUTHPORT CAPITAL RISK MANAGEMENT

      This matter came before the Court on the Receiver’s Motion to Abandon

Interest in Lakewood Ranch Risk Management LLC d/b/a Southport Capital Risk

Management (the “Motion”) filed on January 31, 2022, by A. Cotten Wright , the

duly appointed receiver (the “Receiver”) in this case, through counsel. (Doc. No.

141). On February 4, 2022, the Receiver filed her Notice of Filing of Objection to

Motion to Abandon Interest in Lakewood Ranch Risk Management, LLC d/b/a

Southport Capital Risk Management (Doc. No. 144) relative to correspondence from

Michael Blanton objecting to the Motion (the “Objection”). The Court, having

reviewed the Motion, the Memorandum of Law filed in support of the Motion, the
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Objection, Receiver's Reply to the Objection [ECF 169], and the record in this case,

and having been informed that the S.E.C. has no opposition to the Motion, has

determined that it should be allowed. The Court therefore makes these Findings of

Fact and Conclusions of Law, and enters this Order as follows:

      1.     On September 1, 2021, the Court entered its Order Appointing Receiver

(the “Receivership Order”) establishing a receivership in this case (the

“Receivership”).1 (Doc. No. 26). In the Receivership Order, the Court included

among the Receivership assets John J. Woods’ membership interest in Lakewood

Ranch Risk Management LLC (“LWRRM”) d/b/a Southport Capital Risk

Management (the “Woods LWRRM Interest”). (Doc. No. 26, p. 1-2).

      2.     On October 21, 2021, the Court entered its Order Approving

Liquidation Plan and Establishing Case Procedures pursuant to which the Receiver

was directed to “seek Court approval of the ultimate disposition of the equity

interests in [LWRRM], through a pleading filed in this Case at the appropriate time.”

(Doc. No. 82, p. 3-4).

      3.     LWRRM’s business has consisted primarily of selling life insurance

policies, annuities, and long-term care insurance policies, often marketed to clients



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     On September 10, 2021, the Court entered its Order Amending Order
Appointing Receiver to Correct Typographical Errors. (Doc. No. 53).
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of the related organization, Livingston Group Asset Management Company, which

does business as “Southport Capital.” LWRRM historically has had little recurring

business.

      4.     On August 30, 2021, before the Receivership Order was entered,

IBERIABANK declared a default as to a $500,000.00 loan made to LWRRM (the

“Bank Loan”) on the grounds that the Bank deemed itself insecure because of the

allegations made in the Complaint that initiated this case. As of that date, the amount

due on the Bank Loan was $501,593.75, which included interest of $1,593.75.

IBERIABANK did not allege a payment default.

      5.     Other demands and litigation matters have since threatened the viability

of LWRRM.

      6.     LWRRM’s manager announced his intention to leave the company as

of November 30, 2021.

      7.     Thereafter, on November 17, 2021, IBERIABANK placed a freeze

LWRRM’s bank account such that LWRRM was only be permitted to pay its

ordinary course operating expenses. Thereafter, LWRRM agreed to make a one-

time payment of $40,000 to IBERIABANK to be followed by monthly payments of

$15,000.




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      8.     LWRRM has not been generating new business and LWRRM agents

have left the company, allegedly due to the implications of the Woods LWRRM

Interest having been designated as an asset of the Receivership.

      9.     LWRRM receives approximately $3,000 to $4,000 per month in

insurance renewal income, but that renewal income will not be sufficient to keep

pace with IBERIABANK’s monthly draws of $15,000. Additionally, certain state

registrations must be renewed for LWRRM to be eligible to receive Medicare

renewal payments.

      10. Upon consideration of these factors and others, the Receiver

determined that LWRRM is not a profitable enterprise that could be liquidated for

the benefit of the Receivership Estate.

      11.    In the Motion, the Receiver requested that the Woods LWRRM Interest

be abandoned because it is of inconsequential value and benefit to the Receivership

and otherwise unduly burdensome to the Receivership Estate.

      12.    The Court concludes that abandonment of the Woods LWRRM Interest

reflects the most efficient disposition of that asset and would be in the best interests

of the Receivership Estate.




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     IT IS, THEREFORE, ORDERED that the Motion is GRANTED, the

Objection is OVERRULED, and the interest held by John J. Woods in Lakewood

Ranch Risk Management d/b/a Southport Capital Risk Management is

abandoned as an asset of the Receivership Estate.

     The Receiver is ORDERED to serve a copy of this Order on the Non-Party

Objector by email and/or U.S. mail.

      IT IS SO ORDERED this 2nd day of March, 2022.


                                            STEVEN D. GRIMBERG
                                            UNITED STATES DISTRICT
                                            JUDGE




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